






NO. 07-03-0141-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



NOVEMBER 3, 2004



______________________________




MINERAL EXCHANGE, LTD., APPELLANT



V.



TEXACO INC., ET AL, APPELLEES




_________________________________



FROM THE 223RD DISTRICT COURT OF GRAY COUNTY;



NO. 32160; HONORABLE LELAND W. WATERS, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION


	Pending before this Court is an agreed motion filed by appellants/conditional
appellees Mineral Exchange, Ltd. and Kaari Oil Company and appellee/conditional
appellant Texaco Exploration and Production, Inc. by which they request this appeal be
dismissed with prejudice and that each party bear its own costs and fees.  Without passing
on the merits of the appeal, the motion is granted.  Having dismissed the appeal at the 
request of all parties,  no motion for rehearing will be entertained and our mandate will
issue forthwith.

	Accordingly, the appeal is dismissed with prejudice.  See Tex. R. App. P.
42.1(a)(2)(A).

						Don H. Reavis

						     Justice





rt acted arbitrarily or unreasonably in light of all the circumstances in the case, i.e.
whether the trial court acted without reference to any guiding rules and principles.  Lewis
v. Johnson, 97 S.W.3d 885, 886-87 (Tex. App.-Corpus Christi 2000, no pet.).  Next, under
§14.003(a)(2), a cause may be dismissed if it is frivolous or malicious.  Tex. Civ. Prac. &amp; 
Rem. Code Ann. §14.003(a)(2) (Vernon  2002).

	As previously mentioned, Hammonds complains of the decision by Camp and Leffew
to confiscate his property.  Furthermore, these acts purportedly evinced a denial of due
process and an intentional or malicious "deprivation of property."  As to the former cause,
Hammonds is mistaken.  Because he has available to him both a common law remedy for
conversion and an administrative remedy, his complaints (assuming they are true) do not
evince a denial of due process, as a matter of law.  Murphy v. Collins, 26 F.3d 541, 543-44
(5th Cir. 1994) (stating that deprivations of property caused by the misconduct of state
officials do not infringe upon notions of constitutional due process if adequate state post-deprivation remedies exist and in Texas the tort of conversion is such a remedy); Aguilar
v. Chastain, 923 S.W.2d 740, 743-44 (Tex. App.-Tyler 1996, writ denied) (holding that a
prison official's unauthorized deprivation of an inmate's property is not a constitutional
violation since the Texas Legislature has provided an administrative remedy to pay a claim
for lost or damaged property via §§501.007 and 501.008 of the Texas Government Code). 
So, the trial court had basis to dismiss the due process allegation as frivolous.

	As to the allegation that he was intentionally or maliciously deprived of property,
Hammonds can pursue recovery through the tort of conversion.  However, the amount
recoverable is  the reasonable market value of the property at the time of the conversion. 
Peter Salpeter Energy Co. v. Crystal Oil Co., 524 S.W.2d 383, 385 (Tex. Civ. App.-Corpus
Christi 1975, writ ref'd n.r.e.).  As illustrated in his petition and construing it in a light most
favorable to him, the purported value of the property confiscated was $50. (2)  This is of
import since a county court at law, like that which dismissed his suit, cannot entertain a
claim for $50.  Disputes involving amounts in controversy between $.01 and $200
(inclusive) fall within the exclusive jurisdiction of a justice of the peace court.  Tex. Const. 
art. V, §19.  And, that Hammonds also sought punitive damages and interest matters not
for those cannot be included in the equation when calculating the jurisdiction of a county
court at law.  Tex. Gov't Code Ann. §25.0003(c)(1) (Vernon 2004).  Accordingly, the trial
court had basis to dismiss the claim for the want of jurisdiction.

	Next, we find one other basis for overruling Hammonds' issue.  It is the doctrine of
de minimis non curiat lex.  See Smith v. Stevens, 822 S.W.2d 152 (Tex. App.-Houston [1st
Dist.] 1991, writ denied) (construing the phrase as meaning that the law cares not for small
things).  That doctrine has been used to dismiss suits filed by inmates over the confiscation
of property.  See id. (involving the confiscation of a coffee bag and two packs of cigarettes). 
Furthermore, in Thompson v. Mannix, 814 S.W.2d 811, 812 (Tex. App.-Waco 1991, no
writ) the reviewing court concluded that the trial court could have justifiably invoked the
doctrine to dismiss Thompson's claim for damages.  He sought recovery for the conversion
of five highlighters, an extension cord, four small wooden picture frames, a stainless steel
pen and pencil set, a mirror, three hospital bracelets, and a fan.  Id. at 812.  The nature of
the injury when suing to recover for the loss of two shower shoes, two chess sets, and a
sweatshirt is not different from that involved in Mannix.  This is especially so when the
complainant is asking the government to fund his litigation via a request to proceed as a
pauper.  To paraphrase Smith, any error that may exist due to the dismissal of the suit is
harmless because the amount of actual damages involved is insignificant.  Smith v.
Stevens, supra (so holding).

	Finally, whether a trial court convenes a hearing before dismissing the cause is a
matter within its discretion.  Spurlock v. Schroedter, 88 S.W.3d 733,736 (Tex. App.-Corpus
Christi 2002, no pet.).  Thus, the decision to forego a hearing is not error, contrary to
Hammonds' suggestion.  Id.  

	Finding no arbitrary or unreasonable conduct on the part of the trial court, we affirm
its order of dismissal.


							Brian Quinn 

							   Justice
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment.  Tex. Gov't Code
Ann. §75.002(a)(1) (Vernon Supp. 2004). 
2. Hammonds pled for "$50 for the actual property and commissary goods" taken.  That he also sought
$10 per day "for denying [him] the use of his personal property" is of no consequence since that falls outside
the measure of recovery under the law.


